a

U.S. Department of Justice
United States Marshals Service

~ Case 1:21-cv-10136-AK “Document 18 , Fileg, 53a shag tabtr 4 AND RETURN
See "Instructions for Service of Process by U.S. Marshal"

AINTIFF
Yer ©CLD Chere

COURT CASE NUMBER

\F AH CU— Wet G~LV5

DEFENDANT AT cleo a .|-TYPE OF PROCESS
De. oO& Corn a a TO MAT 25 BM ARDENNES
NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE J ose dk L. Sawn son
AT ADDRESS (Street or RFD, Apartment Nos City, State and ZIP Code)

Sb Malle DL srthes Wald ed MWe AVES HR

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be \

News Ag Ceraeoes
Yo. Bore Booo

HA eA NAB, AW GY

served with this Form 285

Number of parties to be
served in this case P'\

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

AN So Madle

SArech~ suche S adlocd WA of >

[7] PLAINTIFF
(] DEFENDANT

OO. other Originator requesting service on behalf of:

TELEPHONE NUMBER

DATE

QAPD\

€

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

I acknowledge receipt for the total Total Process | District of District to
number of process indicated. Origin Serve
(Sign only for USM 285 if more

than one USM 285 is submitted) No. ne

Signature of Authorized USMS Deputy or Clerk

Date

I hereby certify and return that I [] have personally served , (] have legal evidence of service, [[]_ have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

gi hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shawn above)

Date Time

dal | 7% 2

fam
L] pm

Address (complete only different than shown above)

Signatufe of U.S. Marshal or Deputy

Ase

Service Fee Total Mileage Charges

(including endeavors)

Forwarding Fee Total Charges Advance Deposits

Amount owed to U.S. Marshal* or
(Amount of Refund*)

REMARKS

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W/arks for LO

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

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Form USM-285
Rev. 11/18
